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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                          )
PETER STRZOK,                             )
                                          )
                      Plaintiff,          )
                                          )
       v.                                 )
                                                            Civil Action No. 19-2367 (ABJ)
                                          )
ACTING ATTORNEY GENERAL JEFFREY A. )
ROSEN, in his official capacity as Acting )
Attorney General, et al.,                 )
                                          )
                      Defendants.         )

  MEMORANDUM OF POINTS OF LAW AND AUTHORITIES IN SUPPORT OF
 UNOPPOSED MOTION TO COMPEL DONALD J. TRUMP FOR PRESIDENT, INC.
    TO RESPOND TO SUBPOENA AND FOR AN ORDER TO SHOW CAUSE

       Plaintiff’s agent served the registered agent of Donald J. Trump for President, Inc. (“Trump

for President”) with the subpoena filed herewith on December 11, 2020. (See Ex. A). Trump for

President was required to object or respond to the subpoena by December 30, 2020. (See Ex. A;

Fed R. Civ. P. 45(d)(2)(B) (objections “must be served before the earlier of the time specified for

compliance or 14 days after the subpoena is served”)). Absent objection, a third-party that has

received a subpoena pursuant to Federal Rule of Civil Procedure 45, “must comply with [the]

plaintiff’s document requests.” Shvartser v. Lekser, 292 F. Supp. 3d 272, 276 (D.D.C. 2018).

Trump for President failed to object or respond.

       This Court has jurisdiction over Trump for President for its failure to comply with the

subpoena. Federal Rule of Civil Procedure 45(g) provides jurisdiction to “[t]he court for the

district where compliance is required.” The District of Columbia is the district where compliance

is required because the third-party subpoena listed the offices of Zuckerman Spaeder LLP in

Washington, D.C. as the place for performance. There is no doubt that Trump for President
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regularly transacts business in person in the within 100 miles of central Washington, D.C., and as

such, this place for performance was proper. See Fed. R. Civ. P. 45(c)(2)(A).

        The subpoena’s requests for production were reasonable. Count I in this action asserts that

Plaintiff’s First Amendment rights were violated when his employment was terminated at the

behest of high-ranking members of the Trump administration due to Plaintiff’s political views.

Count III asserts the Defendants willfully and intentionally violated the Privacy Act when they

disclosed Plaintiff’s records, and Plaintiff contends that those unlawful disclosures were politically

motivated. The political motivations behind Defendants’ termination of Plaintiff’s employment

and their disclosure of his private text messages will likely be evidenced by communications

among President Trump, high ranking administration officials, and their extra-governmental

henchmen. Trump for President is the campaign committee that was organized on June 29, 2015

to support Donald J. Trump’s 2016 presidential campaign. (See Trump for President Statement of

Organization,        Federal        Election       Commission,         https://docquery.fec.gov/cgi-

bin/forms/C00580100/1011720/). The campaign has continued its operations since, including by

facilitating President Trump’s attacks on Plaintiff’s character. (See Compl. ¶¶ 46-48). Plaintiff’s

subpoena to Trump for President contains only six requests, each of which seeks information

relevant to Plaintiff’s claims, and Trump for President has not objected to any of them. The Court

should therefore order that Trump for President produce all documents responsive to the subpoena

that are in its possession, custody, or control.

        The Court should also order Trump for President to show cause as to (i) why it should not

be held in contempt, and (ii) why Plaintiff should not be awarded his costs for this motion. This

Court has authority under Federal Rule of Civil Procedure 45 “hold in contempt a person who,

having been served, fails without adequate excuse to obey the subpoena or an order related to it.”




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The advisory committee notes make clear, however, that a contempt proceeding may be initiated

by an order to show cause. See Fed. R. Civ. P. 45 (committee notes on 2013 amendment); see also

S.E.C. v. Hyatt, 621 F.3d 687, 695 (7th Cir. 2010) (“show-cause order satisfies the due-process

notice requirement by giving the nonmoving party notice of his opportunity to respond before the

substantive request for relief [i.e. contempt] is entertained”). Additionally, Rule 37(a)(1) provides

that “[o]n notice to other parties and all affected persons, a party may move for an order compelling

disclosure or discovery,” and under Rule 37(a)(5), “[i]f the motion is granted . . . the court must,

after giving an opportunity to be heard, require the party or deponent whose conduct necessitated

the motion . . to pay the movant’s reasonable expenses incurred in making the motion, including

attorney’s fees.” An order compelling Trump for President to show why it should not be held in

contempt and required to compensate Plaintiff for his costs—pursuant either to the Court’s powers

under Rule 37 or 45—is therefore justified. Plaintiff also requests that the Court notify Trump for

President of its obligation to preserve responsive documents. Issuing this order promptly is

particularly important given Trump for President’s conduct in recent months.




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Dated: January 25, 2021             Respectfully submitted,


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